           Case 20-03190-sgj Doc 84-8 Filed 02/02/21                              Entered 02/02/21 17:29:16                           Page 1 of 3
'112550(l;orrn1550-SubpocnRtoAppcarand'l'cstilyatallearingor'li'ial inallankruptc]'CRseorr\dvcrsen,Procccdine)(12/15)



                                       UNrrpn S'rarps BanrnuPTCY Counr
     Northern                                                             District   of   Texas

  1,.,,..rHighland Capital Management, L.P.
                                     Debtor'
                                                                                  Case    No. 19-34054
            (Complele iJ'issuecl in an adversury; proceecling)

                                                                                  Chapter    11
  Highland Capital Management, L.P.
                                    Plaintiff
                                        V.
                                                                                  Adv. proc.      No.    20-03'190
  James D. Dondero

                                   Defendant


                                SUtsPOENA TO APPBAR AND TESTIITY
            AT A HEAI1ING OR TRIAL IN A BANI(RUI'TCY CASB (OR ADVERSARY PITOCBEDING)

   1o. Jason Rothstein
                                                         (Nante of person to vhom tlte .subpocna is clircctecl)


    E   yOtl ARD COMMANDED                to appear in the Urritecl States llarrk|uptc1,' Court ar tlre timc, clate. ancl place set forlh belorv
   to testify at a headng or trial in this bankruptcy case (or advelsarl, proceeding). When )rou afrive, you lnust rernain at the
   coult until the.jLrclge or a coult official allou's you to leave.
    Pt,ACE 1100 Commerce Street, 14th Floor                                                               cor.jRTRooM             1
              Dallas,TX75242
              (The hearing will occur remotely via WebEx - details will be provided or can be accessed    DATE An*D TItr4E
              at www.txnb. uscourts. gov)
                                                                                                                                      February 5,2021 at 9:30 a.m.

   You nrttst af so bring with you the follorving documents, electronically stored infbrrnatiorr, or objects (leave blank if not
   upplicuhlQ:



              'I"he
               follori,irrgprovisions of Fed. R. Civ. P.45, rnade applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
   attached- Rule  45(c), relating to the place of compliance; Rule 45(d), r'elating to yolrr protection as a person subject to a
   subpoena; ancl Rule 45(e) and 45(g). relating to your duty to lespond to this subpoena and the potential coltsequences ofnot
   cloing so.

   g6".     211121

                                    CLERK OF COURT

                                                                                 OR
                                                                                          /s/ Bryan C. Assink
                                    Signattrre of Clerk ot' Depuly Cllerk                      All ornq;'s   s i g,nct   ltu'e



   The name. address. ernail address, and telephorre nurlbel of the attorrrey representing (name of party)
   James Dondero                       . rvho issues or requests tlris subpoena, are:
    Bryan C. Assink, Bonds Ellis Eppich Schafer Jones LLP, 420 Throckmorton Street, Suite 1 000, Fort Worth, TX
    761 02; email; bryan.assink@bondsellis.com; tel: 817 -7794297



                                       Notice to the person n'ho issues or requests this subpoena
   l1'this subpoeua colnrlands the ploduction of docul'nents, electronically stored infonnation, ol tangible thiugs. or the
   inspection of preruises before trial, a notice and a copy of this subpoena must be served on each pafty before it is served on
   the person to r.vlrom it is directed. Fed. R. Civ. P. a5(a)(a).
                                                                                                                                 Dondero Ex. 8
       Case 20-03190-sgj Doc 84-8 Filed 02/02/21                                                       Entered 02/02/21 17:29:16                            Page 2 of 3
                        Subpoena to r\ppcar rnd 'l-cstil\'   lt                    'l'rial in a l3ankruprcl'
82550 (Fornr 2550   -                                             a I learing or                               Casc or Adr crsary I'rocccding) 1l)agc 2 )




                                                                              PITOOF OF SERVICE
                                    section should not be lilecl u'ith the court unless t'equired b)'Fed. R. Cir'. P. 45.)

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on ftictte) A-A- P I


                                           deliveri                                               person as        t'olto*,s:        Sqs c ^                Ro+[s+c,r^



l_J I returned tlre subpoena unexecuted because:



Unless the subpoena u'as issued orr behalf of the UnitecJ States, or one of its officers or agents, I have also tendered to the
witrress tlre fees fbr orre day's attcndance, aud the nrileage allorred [r1, lsla', in the anrount of $                                                      4n
 M5, fecs are   $ -                     fol trar,cl and           $                     ^ serviccs, for a total of
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         I declare        r"rnder   penalty ol'perjury that tlris irrfolruation is                        trr,re   and correct.




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Additional infornration conceruing attempted selvice, ctc.:
          Case 20-03190-sgj Doc 84-8 Filed 02/02/21                                                       Entered 02/02/21 17:29:16                                                Page 3 of 3
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                          -   Subpocna to Appcar and                  a I lcaring   or'l'rial in a l)ankruprcy   Casc or Aclvcrsarl' Procccding) lPagc 3;
                                                                                                                                                                    xl@.Gn+r.-..                               * r-.   va- ' -rerr-o


                                    Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                                (macle appliclble in brtnklupto'cases by ltule 9016, Feder:rl llules of Bnnkruptcv Plocedure)

 (c) Irlncc of conrpli:rncc.                                                                                             (ii) disclosing    atr unretaiued experr's opinion or inlilrnration thar does
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      (ii) is conrnrandcd lo attend a trial nnd        sould not incur substantial                                      (ii) cnsures lhat the subpoenaed llcrsorr s,ill bc I'casonatrll'
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-l'hc
       objection rrnrst bc ser\:cd befur'e rhe carlier of thc tinrc specificd for
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conrpliance or l4 da1's after the subpoena is served. Ifan objection is rnade.
                                                                                                                      (A) lnfornotion lllithheld. A persou lithhokling subpocnacd
thc lollosing rules appll':
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        (i) At an1'tiruc. on noticc 10 thc coururanded person, fte scrr,ing partl'
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may lnove thc court lbr thc district Nhere cornpliance is rcquired for an
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orrlcr corrrpelling productiorr or inspcctiorr.
                                                                                                                         (ii) describe the nature ofthe rvithbcltl documents. coruurunications.
        (ii) I hese acts nla)' bc requircd onll' as directcd irr the ordcr, and thc
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                                                                                                                      (B) lttfornration Pruluced.ll'inl'ornration produced irr response to a
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     (A) llthen lletluirecl. On linrcll'nrolion. the coun lol the district l'herc
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conrpliancc is required ntusl quash or ntodifl.'a subpoena that:
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spccified in ltule 45(c);
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       (iii) requires disclosule ol'privileged or other protected nratter, ifno
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c.\ception or rvaivcr applies; or
                                                                                                                 rr,here conlrliance is required for a deternrination ofthe claint. 'fhe person
      (ir) subjects      a person to unduc burden.
    (B) Illlrcn Peunitteel. To protect a person subject to or allected by                                        rvho produced the inlbrrnation must prcscrvc the inlbrrnation until rhe clainr
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subpoena. lhe court lbr the district u'here conrpliance is required ma),. on
motion. quash or nrodil\,thc subpocna ifit rcquircs:
                                                                                                                 (g) Conlcnrpt. I'he couil lbr thc district rr,lrcre conrltliance is lequircd - and
       (i) disclosing a trlde secret or other conlidential research,
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tleveloprrrenl, or comnrercial inlblmation: or
                                                                                                                 a person u{to. har,ing been served. Iirils l'ithout adequate excuse to obev
                                                                                                                 the subpoena or an order related to it



                                                For access to subpoena nraterials, see Fcd. lt. Cir,.                   Ir. 45(a) Conrnrirtec Note (201 3)
